Case 2:91-cv-00589-CJC Document 677-8 Filed 07/10/20 Page 1 of 8 Page ID #:5805




                          OVERSIZE ITEM(S)


               For the document to which this oversize item relates

                         see#




                                                    F 1user\share\sdms\forrns\targets fully scanned Q\ D (child) target w.pd




                                     Exhibit 39
                                       5762
Case 2:91-cv-00589-CJC Document 677-8 Filed 07/10/20 Page 2 of 8 Page ID #:5806




                                    Exhibit 39
                                      5763
Case 2:91-cv-00589-CJC Document 677-8 Filed 07/10/20 Page 3 of 8 Page ID #:5807




                                    Exhibit 39
                                      5764
Case 2:91-cv-00589-CJC Document 677-8 Filed 07/10/20 Page 4 of 8 Page ID #:5808




                                    Exhibit 39
                                      5765
Case 2:91-cv-00589-CJC Document 677-8 Filed 07/10/20 Page 5 of 8 Page ID #:5809




                                    Exhibit 39
                                      5766
Case 2:91-cv-00589-CJC Document 677-8 Filed 07/10/20 Page 6 of 8 Page ID #:5810




                                    Exhibit 39
                                      5767
Case 2:91-cv-00589-CJC Document 677-8 Filed 07/10/20 Page 7 of 8 Page ID #:5811




                                    Exhibit 39
                                      5768
Case 2:91-cv-00589-CJC Document 677-8 Filed 07/10/20 Page 8 of 8 Page ID #:5812




                                    Exhibit 39
                                      5769
